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   1   Ryan G. Baker (Bar No. 214036)
   2    rbaker@waymakerlaw.com
       Teresa Huggins (Bar. No. 263257)
   3    thuggins@waymakerlaw.com
       Sam S. Meehan (Bar. No. 307934)
   4    smeehan@waymakerlaw.com
       WAYMAKER LLP
   5   777 S. Figueroa Street, Suite 2850
   6   Los Angeles, California 90017
       Telephone: (424) 652-7800
   7   Facsimile: (424) 652-7850
                                                                         FILED
   8   Attorneys for Plaintiff Tony Bobulinski                 CLERK, U.S. DISTRICT COURT



   9                                                                  10/29/2021
       Fred Norton (SBN 224725)
  10    fnorton@nortonlaw.com                                CENTRAL DISTRICT OF CALIFORNIA
                                                                         bm
       David W. Shapiro (SBN 219265)                           BY: ___________________ DEPUTY

  11    dshapiro@nortonlaw.com
  12   Matthew Ohlheiser (admitted pro hac vice)
        mohlheiser@nortonlaw.com
  13   THE NORTON LAW FIRM PC
       299 Third Street, Suite 106
  14   Oakland, California 94607
       Telephone: (510) 906-4900
  15   Facsimile: (510) 906-4910
  16   Attorneys for Defendant Adam Roseman
  17
                               UNITED STATES DISTRICT COURT
  18
                          CENTRAL DISTRICT OF CALIFORNIA
  19
  20   TONY BOBULINSKI,                          Case No. 2:19-CV-02963-MFW (JPRx)
  21              Plaintiff,
                                                 [PROPOSED] AMENDED
  22        vs.                                  STIPULATED PROTECTIVE
  23   ADAM ROSEMAN, an individual; and          ORDER GOVERNING
       DOES 1 - 20,                              CONFIDENTIAL MATERIALS
  24
                  Defendants.
  25                                             Date Filed: February 21, 2019
                                                 Judge: Hon. Jean P. Rosenbluth
  26
                                                 Courtroom: 690
  27
  28

                                                   AMENDED STIPULATED PROTECTIVE ORDER
                                                     GOVERNING CONFIDENTIAL MATERIALS
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   1
             WHEREAS, information and documents provided in discovery in the above-
   2
       captioned litigation, whether by a party or non-party, may be of a trade secret or
   3 confidential nature within the meaning of Rule 26(c)(1)(G) of the Federal Rules of
   4 Civil Procedure; and
   5         WHEREAS, one of the purposes of this Stipulated Protective Order (the
   6 “Order”) is to protect the confidentiality of information the designating party
   7 reasonably believes is entitled to confidential treatment under applicable law;
   8         IT IS HEREBY ORDERED THAT:
   9         1.     As used in this Order, “Litigation Material(s)” includes: (a) documents,
  10 exhibits, answers to interrogatories, responses to requests for admissions, deposition
  11 testimony and transcriptions (including exhibits), and all written, recorded, graphic or
  12 electronically-stored matters (and all identical and non-identical copies thereof); (b)
  13 any copies, notes, abstracts or summaries of such information, and the information
  14 itself; and (c) any pleading, affidavit, declaration, brief, motion, transcript, including
  15 exhibits to any of these, or other writing containing such information.
  16       2.      Litigation Materials containing confidential or proprietary information,
  17 including pricing, rates, customers/subscribers, company security matters, customer
  18 lists, personnel files, information of a personal or intimate nature regarding any
  19 individual, financial data and other non-public commercial, financial, research or
  20 technical information, may be designated “Confidential” by any producing party (for
  21 purposes of this Order, a “producing party” includes any non-party that produces
  22 information in connection with the above-captioned litigation (“this litigation”)).
  23 Litigation Materials containing trade secret or other highly valuable proprietary or
  24 confidential research, development or commercial information, including, but not
  25 limited to, special formulas, proprietary software and/or computer programs, current
  26 or future marketing plans, current or future business plans or strategies, current or
  27 future plans for products or services, customer and subscriber data and information,
  28 vendor and/or supplier information, agreements with third parties, information

                                                    AMENDED STIPULATED PROTECTIVE ORDER
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   1   regarding current or future business or financial transactions, internal financial reports
   2   or plans, current or future pricing, rates or planning information, financial data,
   3   production data, internal notes, memoranda, logs or other data, information relating to
   4   business ownership or control, confidential settlement agreements, and other highly
   5   sensitive non-public commercial, financial, research or technical information that the
   6   producing party believes, in good faith, should be afforded a higher level of
   7   confidentiality, may be designated “Highly Confidential” by any producing party.
   8   Litigation Materials that a producing party believes in good faith should be treated not
   9   only as “Highly Confidential” but also should not be shared with in-house counsel on
  10   the grounds that disclosure of such Litigation Materials may cause competitive harm
  11   may be designated “Highly Confidential—Outside Attorneys’ Eyes Only.”
  12         3.      All Litigation Materials provided (before or after entry of this Order) in
  13   discovery in connection with this litigation, and the contents thereof: (a) shall be used
  14   or disclosed by the parties, their counsel, or anyone else provided with Litigation
  15   Materials pursuant to the terms of this order, for the purpose of the prosecution or
  16   defense of this litigation, including preparing for and conducting pre-trial, trial and
  17   post-trial proceedings in this litigation, and for no other purpose except as stipulated in
  18   writing, formally or informally, by the Parties’ counsel of record; (b) shall not be used
  19   or disclosed for any business, commercial or competitive purpose; and (c) shall not be
  20   used or disclosed in connection with any other litigation or proceeding, except as
  21   stipulated in writing, formally or informally, by the Parties’ counsel of record. In
  22   addition, Litigation Materials designated “Confidential,” “Highly Confidential” or
  23   “Highly Confidential—Outside Attorneys’ Eyes Only” and the contents thereof, shall
  24   not be disclosed other than as provided by the terms of this Order.
  25         4.      Any Litigation Materials that the producing party disclosed to the general
  26   public prior to their production in this litigation or disclosed during the course of this
  27   litigation shall not be designated or treated as “Confidential” “Highly Confidential” or
  28   “Highly Confidential—Outside Attorneys’ Eyes Only,” including without limitation
                                                       AMENDED STIPULATED PROTECTIVE ORDER
                                                2        GOVERNING CONFIDENTIAL MATIERALS
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   1   for purposes of the temporary treatment of produced Litigation Materials as “Highly
   2   Confidential” as set forth in Paragraph 6.a.i.
   3         5.      Nothing in this Order affects the right of any producing party that
   4   produced Litigation Materials to use or disclose such Litigation Materials, or the
   5   contents thereof, in any way.
   6         6.      a.i. Any producing party may designate Litigation Materials, or portions
   7   thereof, as confidential or highly confidential by marking them “Confidential,” “Highly
   8   Confidential” Or “Highly Confidential—Outside Attorneys’ Eyes Only.” To provide
   9   the parties adequate opportunity to properly designate Litigation Materials hereunder,
  10   all Litigation Materials shall be deemed “Confidential,” whether or not stamped with
  11   that legend, for five (5) calendar days following their production.
  12                a.ii.   The failure to designate Litigation Materials as “Confidential,”
  13   “Highly Confidential” or “Highly Confidential—Outside Attorneys’ Eyes Only”
  14   within that five (5) day period shall not waive a producing party’s right to later so
  15   designate such Litigation Materials with prospective effect. If Litigation Materials
  16   claimed to be “Confidential,” “Highly Confidential” or “Highly Confidential—Outside
  17   Attorneys’ Eyes Only” were previously produced without such designation but timely
  18   re-designated, such Litigation Materials and all copies thereof shall within five (5) days
  19   of any written notice requesting their return, be returned to the designating party for
  20   such designation, destroyed, or stamped “Confidential,” “Highly Confidential” or
  21   “Highly Confidential—Outside Attorneys’ Eyes Only” as requested by the designating
  22   party (a “designating party” may include a non-party that is a producing party). The
  23   receiving party may challenge the designation of the documents as provided in this
  24   Order, but the inadvertent production of Litigation Materials (including, without
  25   limitation, testimony) claimed to be “Confidential,” “Highly Confidential” or “Highly
  26   Confidential—Outside Attorneys’ Eyes Only” without the designation shall not
  27   constitute a waiver of confidentiality.
  28                b.      Counsel for a deponent may invoke the protections of this Order by
                                                        AMENDED STIPULATED PROTECTIVE ORDER
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   1   stating on the record during the deposition that some or all testimony given at the
   2   deposition is designated “Confidential,” “Highly Confidential,” or “Highly
   3   Confidential—Outside Attorneys’ Eyes Only,” or by designating the deposition
   4   transcript or portions with such designation(s) within fifteen (15) business days after
   5   receipt of the final deposition transcript. All information disclosed during a deposition
   6   shall be deemed “Confidential” for fifteen (15) business days, whether or not any
   7   portion of the transcript was so designated during the deposition, and thereafter shall
   8   be treated as “Confidential,” “Highly Confidential” or “Highly Confidential—Outside
   9   Attorneys’ Eyes Only,” as applicable, if so designated. No person shall be present
  10   during any portion of any deposition designated as provided herein, or any portion of
  11   any deposition wherein Litigation Materials designated hereunder are disclosed, unless
  12   that person is an authorized recipient of Litigation Materials containing “Confidential,”
  13   “Highly Confidential” or “Highly Confidential—Outside Attorneys’ Eyes Only”
  14   information under the terms of this Order or unless all parties agree to allow the
  15   attendance of such person.
  16                c.    Written discovery, documents, and tangible things that meet the
  17   requirements for the confidentiality designations set forth in this Order may be so
  18   designated by placing the appropriate designation on at least the cover page of the
  19   written material prior to production, except for documents produced in native format
  20   which shall have the appropriate designation affixed on the face of the media
  21   containing the native format documentation.        To the extent that documents are
  22   produced in electronic form, the addition of a confidentiality designation in the file
  23   name, or in the name of the folder or database in which the file is produced, shall be
  24   sufficient to provide notice of confidentiality and additional written notice will be
  25   unnecessary. Tangible things not produced in documentary form may be designated
  26   by affixing the appropriate designation on a cover page or label for such material and
  27   in a prominent place on the exterior of the container or containers in which the
  28   information or things are stored.
                                                      AMENDED STIPULATED PROTECTIVE ORDER
                                               4        GOVERNING CONFIDENTIAL MATIERALS
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   1         7.      The producing party designating any Litigation Materials hereunder
   2   shall, in the first instance, determine in good faith whether such Litigation Materials
   3   contain “Confidential,” “Highly Confidential” or “Highly Confidential—Outside
   4   Attorneys’ Eyes Only” information covered by this Order. Another party may object
   5   in good faith to such designation. The objecting party and the other person(s) involved
   6   shall follow the provisions of Local Rule 37-1, et seq., of the Central District of
   7   California in (a) their attempt to informally resolve their designation dispute and (b)
   8   any motion practice before this Court should such dispute not be resolved informally,
   9   provided, however, that counsel, upon request from one side, shall meet-and-confer
  10   pursuant to Local Rule 37-1 within two business days of the written communication
  11   requesting the meet-and-confer; and counsel shall provide the responsive portion of
  12   any joint stipulation pursuant to Local Rule 37-2.2 within two business days of
  13   receiving the moving party’s material. Any Litigation Materials, the designation of
  14   which are subject to such dispute, shall be treated as designated pending further order
  15   of the Court. The party asserting the confidentiality of any such Litigation Materials
  16   shall bear the burden of establishing that the Litigation Materials are entitled to be
  17   classified as designated.
  18         8.      If any Litigation Materials designated hereunder are used during the
  19   course of a deposition, the portion of the deposition record containing testimony related
  20   to such information shall be designated as “Confidential,” “Highly Confidential” or
  21   “Highly Confidential—Outside Attorneys’ Eyes Only,” as applicable, and access
  22   thereto shall be limited pursuant to the terms of this Order.
  23         9.      Litigation Materials designated or treated as “Confidential,” copies or
  24   extracts thereof and information contained therein, may be disclosed, given, shown,
  25   made available, or communicated only to the following (and then only for purposes of
  26   the prosecution, defense or appeal of this litigation):
  27                 a. employees of the parties provided they are deposition or trial
  28                    witnesses or are otherwise actively involved in the prosecution,
                                                       AMENDED STIPULATED PROTECTIVE ORDER
                                                5        GOVERNING CONFIDENTIAL MATIERALS
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   1                  defense or appeal of this litigation and have executed the attached
   2                  Schedule A;
   3               b. outside counsel retained by the parties to assist in the prosecution,
   4                  defense or appeal of this litigation, including employees of such
   5                  counsel’s firms, and any companies, independent contractors or other
   6                  litigation support service personnel with whom such counsel works in
   7                  connection with this litigation, provided that such outside counsel
   8                  have either executed this Order or the attached Schedule A and that
   9                  any companies, independent contractors or other litigation support
  10                  service personnel with whom such counsel works in connection with
  11                  this litigation have executed the attached Schedule A;
  12               c. in-house counsel for each party (and their paralegal, clerical and/or
  13                  secretarial assistants), provided that such in-house counsel are
  14                  actively involved in the prosecution, defense or appeal of this
  15                  litigation;
  16               d. consultants and/or experts retained by counsel or a party in connection
  17                  with this litigation to whom it is necessary that “Confidential”
  18                  Litigation Materials be shown for the sole purpose of assisting in, or
  19                  consulting with respect to, this litigation, and only upon their
  20                  agreement to be bound by this Protective Order evidenced by
  21                  execution of the attached Schedule A;
  22               e. any person expressly identified in any “Confidential” Litigation
  23                  Materials as an author or recipient of the “Confidential” Litigation
  24                  Materials;
  25               f. any person employed by the party that produced the “Confidential”
  26                  Litigation Materials;
  27               g. the Court in this litigation, and any members of its staff to whom it is
  28                  necessary to disclose “Confidential” Litigation Materials for the
                                                    AMENDED STIPULATED PROTECTIVE ORDER
                                              6       GOVERNING CONFIDENTIAL MATIERALS
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   1                     purpose of assisting the Court in this litigation.
   2                 h. stenographers, videographers and court reporters recording or
   3                     transcribing testimony relating to this litigation and who have
   4                     executed the attached Schedule A;
   5                 i. personnel employed by anyone providing a receiving party with
   6                     document litigation support, graphics, translation, design, and/or trial
   7                     consulting services to whom disclosure is reasonably necessary for
   8                     this litigation, provided that each such person, including their staff,
   9                     has executed the attached Schedule A agreeing to be bound by the
  10                     terms of this Order, and provided that such personnel are not an
  11                     officer, director, or employee of the receiving party;
  12                 j. any mediator assigned to hear this matter and his or her staff, subject
  13                     to their agreement to maintain confidentiality to the same degree as
  14                     required by this Protective Order;
  15                 k. mock jurors who have executed the attached Schedule A agreeing to
  16                     be bound by the terms and conditions of this Order (said signed
  17                     acknowledgement for mock jurors need not be provided to counsel for
  18                     any other party); and
  19                 l. other persons only upon written consent of the producing person
  20                     (which agreement may be recorded in a deposition or other transcript)
  21                     or upon order of the Court.
  22
  23         10.     Litigation Materials designated or treated as “Highly Confidential,”
  24   copies or extracts thereof, and information contained therein, shall be treated as
  25   “Attorneys’ Eyes Only” and may be disclosed, given, shown, made available, or
  26   communicated to only the following (and then only for purposes of the prosecution,
  27   defense or appeal of this litigation):
  28                 a. outside counsel retained by the parties to assist in the prosecution,
                                                       AMENDED STIPULATED PROTECTIVE ORDER
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   1                  defense or appeal of this litigation, including employees of such
   2                  counsel’s firms, and any companies, independent contractors or other
   3                  litigation support service personnel with whom such counsel works in
   4                  connection with this litigation, provided that such outside counsel
   5                  have either executed this Order or the attached Schedule A and that
   6                  any companies, independent contractors or other litigation support
   7                  service personnel with whom such counsel works in connection with
   8                  this litigation have executed the attached Schedule A;
   9               b. in-house counsel for each party (i) who are primarily responsible for
  10                  overseeing the prosecution, defense or appeal of this litigation on
  11                  behalf of the party he or she represents, (ii) who agree not to disclose
  12                  any “Highly Confidential” Litigation Materials to in-house attorneys
  13                  not responsible for overseeing the prosecution, defense or appeal of
  14                  this litigation on behalf of the party he or she represents, and (iii) who
  15                  have been disclosed to the opposing party without objection within
  16                  three (3) business days after such disclosure. If the opposing party
  17                  does object, the parties shall follow the dispute resolution procedures
  18                  (including applicable timetables for the same) set forth in Paragraph
  19                  12 below.
  20               c. outside consultants and/or experts retained by counsel or a party in
  21                  connection with this litigation to whom it is necessary that “Highly
  22                  Confidential” Litigation Materials be shown for the sole purpose of
  23                  assisting in, or consulting with respect to, this litigation, and only upon
  24                  their agreement to be bound by this Protective Order evidenced by
  25                  execution of the attached Schedule A;
  26               d. any person expressly identified in any “Highly Confidential”
  27                  Litigation Materials as an author or a recipient of the “Highly
  28                  Confidential” Litigation Materials;
                                                     AMENDED STIPULATED PROTECTIVE ORDER
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 1                 e. any person employed by the party that produced the “Highly
 2                     Confidential” Litigation Materials;
 3                 f. the Court, and any members of its staff to whom it is necessary to
 4                     disclose “Highly Confidential” Litigation Materials for the purpose of
 5                     assisting the Court in this litigation;
 6                 g. stenographers, videographers and court reporters recording or
 7                     transcribing testimony relating to this litigation who have executed
 8                     the attached Schedule A;
 9                 h. other persons only upon written consent of the producing person
10                     (which agreement may be recorded in a deposition or other transcript)
11                     or upon order of the Court.
12
13          11.    Litigation Materials designated or treated as “Highly Confidential—
14   Outside Attorneys’ Eyes Only,” copies or extracts thereof, and information contained
15   therein, shall be treated as “Outside Attorneys’ Eyes Only” and may be disclosed,
16   given, shown, made available, or communicated only to the persons described in
17   Paragraphs 10a and 10c-h, and then only for purposes of the prosecution, defense or
18   appeal of this litigation.
19          12.    a. Before any of the persons described in paragraphs 9d and 10c shall
20   have access to “Confidential,” “Highly Confidential” or “Highly Confidential—
21   Outside Attorneys’ Eyes Only” material, he or she must certify that he or she has been
22   made aware of the provisions of this Order and has manifested his or her assent to be
23   bound thereby by signing a copy of the attached Schedule A, and the signed Schedule
24   A must be served upon the opposing parties, along with a current resume or curriculum
25   vitae reasonably identifying the person, each individual or company for which the
26   person has done work in the past five years or with which the person has an agreement
27   to do work in the future, and his or her relationship, if any, to any party, competitor, or
28   other client. The party that produced the designated Litigation Material shall then have
                                                      AMENDED STIPULATED PROTECTIVE ORDER
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 1   five business days to serve a written objection to access by such person. Any written
 2   objection shall state with specificity the reason(s) for such objection. If such objection
 3   is made, there shall be no disclosure to such person except by agreement of the parties,
 4   by order of the Court, or if the time for the objecting party to file a motion as set forth
 5   herein has expired. If an objection is made to disclosure, counsel for the parties shall
 6   meet and confer within two business days of the objection in an effort to reach an
 7   agreement. Failing an agreement, the objecting party, to prevent such disclosure, must
 8   provide its portion of a Local Rule 37-2 joint stipulation within two business days of
 9   the meet-and-confer, and the responsive portion of the joint stipulation must be
10   provided not later than two business days after the provision of the objecting party’s
11   portion of the joint stipulation. On any such motion, the party that designated the
12   material shall bear the burden of showing why disclosure to the person should be
13   precluded.
14                b.     The other persons described in paragraphs 9 and 10 and given
15   access to the “Confidential,” “Highly Confidential” and “Highly Confidential—
16   Outside Attorneys’ Eyes Only” material pursuant to the terms of this Order after
17   signing a copy of the attached Schedule A do not need to be disclosed to the opposing
18   party prior to receipt of “Confidential,” “Highly Confidential” or “Highly
19   Confidential—Outside Attorneys’ Eyes Only” materials. A list shall be maintained by
20   counsel for the parties hereto of the names of all persons who have signed Schedule A
21   and to whom the content of any “Highly Confidential” or “Highly Confidential—
22   Outside Attorneys’ Eyes Only” material is disclosed, or to whom the information
23   contained therein is disclosed, and such list shall be available for inspection by the
24   Court and opposing counsel upon good cause shown. At the time of the termination of
25   this lawsuit by settlement, judgment or otherwise, the parties hereto shall provide other
26   counsel with a copy of the pertinent aforementioned lists upon request. The persons
27   receiving “Confidential,” “Highly Confidential” or “Highly Confidential—Outside
28   Attorneys’ Eyes Only” material are enjoined from disclosing it to any other person,
                                                     AMENDED STIPULATED PROTECTIVE ORDER
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 1   except in conformance with this Order.
 2         12.     Each individual who receives any “Confidential,” “Highly Confidential”
 3   or “Highly Confidential—Outside Attorneys’ Eyes Only” material hereby agrees to
 4   subject himself/herself to the jurisdiction of this Court for the purpose of any
 5   proceedings relating to the performance under, compliance with or violation of this
 6   Order.
 7         13.     The recipient of any designated material that is provided under this Order
 8   shall maintain such records in a secure and safe area and shall exercise the same
 9   standard of due and proper care with respect to the storage, custody, use and/or
10   dissemination of such records as is exercised by the recipient with respect to his or her
11   own proprietary information.
12         14.     Nothing in this Order shall allow non-testifying experts and consultants
13   to be deposed or otherwise be the subject of discovery other than as provided under the
14   Federal Rules of Civil Procedure.
15         15.     (a)   Nothing in this Order shall prevent or otherwise restrict counsel
16   from rendering advice to their clients and, in the course thereof, relying generally on
17   designated Litigation Materials; provided, that in rendering such advice and otherwise
18   communicating with such client, counsel shall not make any disclosure of the specific
19   substance of Litigation Materials so designated except as otherwise allowed by this
20   Order.
21                (b)    If, at any time, any Litigation Materials in the possession, custody
22   or control of any person other than the person who originally produced such Litigation
23   Materials are subpoenaed or requested by any court, administrative agency, legislative
24   body or other person or entity, the party to whom the subpoena or other request is
25   directed shall immediately give written notice thereof to each party who has produced
26   such Litigation Materials (directly or through the producing party’s outside counsel),
27   unless prohibited by law, and shall provide each producing party with an opportunity
28   to object and intervene as appropriate regarding the request for the production of
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 1   Litigation Materials. If a producing party does not object and/or intervene to
 2   prevent disclosure of such documents within twenty-one (21) days of the date written
 3   notice is given, the party to whom the subpoena or other request is directed may
 4   produce such documents in response thereto. Nothing in this Section, however, shall
 5   be interpreted to require the party to whom the subpoena or other request is directed to
 6   refuse to comply with any legal duty or obligation imposed by a court or other judicial,
 7   arbitral, administrative, or legislative body.
 8         16.     Except as agreed in writing by counsel of record or as ordered by the
 9   Court, Litigation Materials designated or treated as “Confidential,” “Highly
10   Confidential,” or “Highly Confidential—Outside Attorneys’ Eyes Only” shall be
11   submitted and/or filed under seal in accordance with Local Rule 79-5.
12         17.     Nothing herein shall prevent any of the parties from using Litigation
13   Materials designated hereunder in any trial in this litigation or from seeking further
14   protection with respect to the use of any designated Litigation Materials in any trial in
15   this litigation. Means to preserve the confidentiality of Litigation Materials presented
16   at any trial of this matter shall be considered and implemented prior to the beginning
17   of such trial. Designated Litigation Materials that are not received into evidence at trial
18   shall retain their designated status under this Order.
19         18.     The terms of this Order shall apply to all manner and means of discovery.
20   The provisions of this Order may be modified at any time by stipulation of the parties,
21   approved by order of the Court. In addition, a party may at any time apply to the Court
22   for modification of this Order. Nothing in this Order shall constitute: (a) any agreement
23   to produce in discovery any testimony, document or other information; (b) a waiver of
24   any right to object to or seek a further protective order with respect to any discovery or
25   other matter in this or any other litigation; or (c) a waiver of any claim or immunity,
26   protection, or privilege with respect to any testimony, document or information.
27         19.     In the event that Litigation Materials designated or treated as
28   “Confidential,” “Highly Confidential” or “Highly Confidential—Outside Attorneys’
                                                      AMENDED STIPULATED PROTECTIVE ORDER
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 1   Eyes Only” are disclosed to someone not authorized to receive such information under
 2   this Order, counsel of record for the party making that disclosure shall, promptly upon
 3   learning of such disclosure, give notice to counsel of record for the designating person
 4   and to counsel of record for the producing person (if different), and shall describe the
 5   circumstances surrounding the unauthorized disclosure.
 6         20.     If any party inadvertently produces in discovery any information subject
 7   to attorney-client privilege, work-product doctrine or any other privilege, protection or
 8   immunity, and the requirements of Federal Rule of Evidence 502(b) have been
 9   satisfied, the producing party may (promptly upon learning of such production) notify
10   the receiving party(ies) of such production and seek the return and/or destruction of
11   such information as set forth below. Upon such notification: the receiving party(ies)
12   shall promptly return to the producing person or shall destroy all such information
13   (including, without limitation, all originals and copies of any documents containing or
14   comprising such information); the information (including, without limitation, all
15   originals and copies of any documents containing or comprising such information)
16   shall continue to be privileged, protected, and/or immune; and no use shall be made of
17   such information (including, without limitation, all originals and copies of any
18   documents containing or comprising such information) by the receiving party(ies), nor
19   shall it be disclosed to anyone by the receiving party(ies). The receiving party(ies)
20   shall promptly provide to the producing person a written certification of the complete
21   return or destruction of such information (including, without limitation, all originals
22   and copies of any documents containing or comprising such information); provided
23   that, to the extent any receiving party has incorporated any such information in its own
24   work product, it may (instead of providing such work product to the producing person)
25   destroy such information incorporated in that work product and promptly certify to
26   such destruction. Nothing herein, however, shall preclude the receiving party(ies) from
27   subsequently challenging that such materials are privileged, or that any such privilege
28   has not been waived.
                                                    AMENDED STIPULATED PROTECTIVE ORDER
                                             13       GOVERNING CONFIDENTIAL MATIERALS
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 1         21.     Upon termination of this litigation and the request of the producing
 2   person, the originals and all copies, whether exact copies or compilations, digests or
 3   non-exact copies in any form, of Litigation Materials shall, within thirty (30) days, be
 4   returned to the person who produced such Litigation Materials (with the resulting
 5   shipping expense to be paid by the producing person), or shall be destroyed (together
 6   with a written certification of the complete destruction of the Litigation Materials), or
 7   shall otherwise be disposed as may be mutually agreeable among the applicable
 8   persons. The obligation to return or destroy “Confidential” (as opposed to “Highly
 9   Confidential” or “Highly Confidential—Outside Attorneys’ Eyes Only”) materials
10   shall be limited to reasonable efforts. Nevertheless, counsel of record may retain their
11   file copies of all court filings, official transcripts and exhibits, any pleading transcript
12   (for each deposition, hearing and trial), written discovery responses, expert reports, and
13   attorney work product, regardless of whether it contained protected Litigation
14   Materials, provided that counsel continues to treat all Litigation Materials in the
15   manner provided in this Order. Notwithstanding the provisions of this paragraph,
16   inaccessible copies of confidential or proprietary material, including electronic copies
17   created through the routine operation of the recipient(s)' standard archival and backup
18   procedures, do not need to be returned or destroyed.
19         22.     This Order shall remain in force and effect until modified, superseded or
20   terminated by order of the Court. The termination of this action shall not relieve the
21   parties from complying with any limitations imposed by this Order, and the Court shall
22   retain jurisdiction to enforce this Order.
23         23.     The entry of this Order does not prevent any party from seeking a further
24   order of this Court pursuant to Rule 26(c) of the Federal Rules of Civil Procedure.
25         24.     The parties agree they will act in accordance with the terms and
26   conditions of this Order upon its execution by all parties even though it may not yet
27   have been so-ordered and entered by the Court.
28
                                                     AMENDED STIPULATED PROTECTIVE ORDER
                                               14      GOVERNING CONFIDENTIAL MATIERALS
Case 2:19-cv-02963-MWF-JPR Document 106 Filed 10/29/21 Page 16 of 17 Page ID
                                 #:2355



 1             25.   This Order shall govern all discovery undertaken in this action.
 2
 3   SO STIPULATED:
 4
 5   Respectfully submitted,
 6
     Dated: October 27, 2021                  WAYMAKER LLP
 7
 8                                            By:   /s/ Teresa L. Huggins
                                                    Ryan G. Baker
 9                                                  Teresa L. Huggins
10                                                  Sam S. Meehan
                                                    Attorneys for Plaintiff Tony Bobulinski
11
12   Dated: October 27, 2021                  THE NORTON LAW FIRM

13
14                                            By:   /s/ Matthew Ohlheiser
                                                    Fred Norton
15                                                  David Shapiro
16                                                  Matthew Ohlheiser
                                                    Attorneys for Defendant Adam Roseman
17
18              ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-4.3.4
19        The filer, Teresa L. Huggins, attests that the other signatory listed, on whose
20   behalf this filing is submitted, concurs in the filing’s content and has authorized the
21   filing.
22
23   SO ORDERED:
24
25
26   Dated: ________________
            October 29, 2021                  _________________________________
                                              Hon. Jean P. Rosenbluth
27                                            United States Magistrate Judge
28
                                                     AMENDED STIPULATED PROTECTIVE ORDER
                                               15      GOVERNING CONFIDENTIAL MATIERALS
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 1                                         Schedule A
 2         By my signature, I hereby acknowledge that I have read the Amended Stipulated
 3   Protective Order, dated                       , 2021 (the “Protective Order”) entered in
 4   Tony Bobulinski v. Adam Roseman, (Case No. 2:19-CV-02963-MFW-JPRx), pending
 5   in the United States District Court for the Central District of California, and hereby
 6   agree to be bound by the terms thereof. I further agree that to the extent that my
 7   employees are provided with “Confidential,” “Highly Confidential” and/or “Highly
 8   Confidential—Outside Attorneys’ Eyes Only” Litigation Materials, I will instruct such
 9   employees regarding the terms of the Protective Order. I further agree to subject myself
10   to the jurisdiction of the United States District Court for the Central District of
11   California with respect to all matters relating to compliance of the Protective Order.
12
13   Dated:
14   City and State:
15
16                                    Signature: _________________________________
17                                    Title:______________________________________
18                                    Address:___________________________________
19                                    __________________________________________
20                                    __________________________________________
21
22
23
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25
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28
                                                    AMENDED STIPULATED PROTECTIVE ORDER
                                             16       GOVERNING CONFIDENTIAL MATIERALS
